        Case 18-71640-sms           Doc 15        Filed 03/04/19 Entered 03/05/19 10:02:32                Desc Main
                                                  Document     Page 1 of 1                   021aq fao (9

c25.,         anc_         Y        ,D                                  1e_AL-3-

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               •                    0 D it\ITS


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   PLtA Sc, Aro
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